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 Pro Se 2 (Rev. 12/ 16) Compl aint and Req uest for Injunction




                                           .UNITED STATES DISTRICT COURT                                                                     AUG 2 8 2018
                                                                             for the
                                                                                                                                    Clerk-            rict Court
                                                                                                                                    By            ~        Deputy Clerk
                                                                           District of

                                                                               Division


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                f                                                              )       Case No.
                                                                                                     __LS- iv., 12Y o - ,Jvv e- ~.13
                                                                               )                      {lo be fi lled in by the Clerk 's Office)
      _ _K_,~-- - - - - -                                                      )
                                Plaintiff(s)
                                                                               )
 (Write the fu ll name of each plaintiff who is fili ng this comp laint.
 If the names ofall the plaintiffs cannot fit in the space above,              )
 please write "see attached" in the space and attach an additional             )
 page with the f ull list of names.)
                                                                               )
                                    -v-
                                                                 ~sso<-\~'~'\S ~
                                                                               )
                                                                               )
                                                                               )
                                Defendant(s)                                   )
 {Write the fu ll name of each defendant who is being sued. If the             )
 names of all the defenda nts cannot fi t in the space above, p lease          )
 write "see attached " in the space and attach an additional page
 with the f ull list of names.)



                                      COMPLAINT AND REQUEST FOR INJUNCTION

 I.        The Parties to This Complaint
           A.          The Plaintiff(s)

                       Provide th e informati on be low fo r eac h plainti ff named in the compl aint. A ttach additi onal pages if
                       need ed.     Bo~ "~\-\•..-~                                            ·
                                  Name                                     ~~~!_ojnef             °"TVA    ~~      C)
                                                                                                                            Y\a.,-\c,\·\~~- __
                                  Street Address                           ,~9 ~ \..oc',°"~'NA            v"" .
                                  C ity and County                          f2o,S \\\O-. _      ~~ •" e. U_v.,,~~ -
                                  State and Zip Code                       ~'r\ '::.~S_    ~"°:\; ~ O_\_ _ _ _ __ _
                                  Te lephone Number                        i~S_:- 30'\ - \~O_\__
                                  E-ma il Address                          c.,~·-(6C~G\\.~l2e~ (.o-~--                  I                    --


           B.          The Defendant(s)

                       Provide th e informati on be low for each defendant nam ed in the complaint, wheth er the defendant is an
                       indi vidual, a government agency, an organi zati on, or a corporation . For an indi vidual defendant,
                       include the person's j ob or title (if known). Attach additional pages if needed.


                                                                                                                                                  Page l of 6
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                     Defendant No. I
                                Name
                                Job or Title     (if known)
                                                                           --------
                                Street Address
                                                                    ~fil   ~w ?-~--
                                City and Co unty                    1~~~                  s~\)-J {'\~~               to~"ir
                                State and Zip Code                  ~'(°'\,s°"~  v~ \..9. \ ~ -       O
                                                                                                      ~ ~'---'
                                                                                                          C\'....-"'
                                                                                                               5'.:_____ _ _ _ __
                                Telephone Number                                     s
                                                                    1-~S- ;.:1~ - ~J.q
                                E-mai l Address       (if known)



                     Defendant No. 2
                                Name
                                Job or Title     (if known)

                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Nu mber
                                 E-mai l Address       (if known)



                     Defendant No. 3
                                Name                                \A..S_~6QS____             _
                                Job or Title     (if known)
                                                                    _S,., /O ~· ~....... ~s ~~ ~--5~.~\~
                                Street Add ress                       ~\\ _&~'7')'-'-._ _ l\-v-e ________ - - - -
                                City and County
                                                                    ~ ~·,~~--- ~o-}..·,"e -        ~~-- ---- -
                                State and Zip Code                  ~~'r") ~s            ~3-\.{ 0 ~
                                Telephone Number                    _ i_~S- ~OC\ -:_~ ""'.\ 'J_ l=__ _____________
                                 E-mail Address       (if known)



                     Defendant No. 4
                                Name
                                Job or Title     (if known)
                                                                                                         -----       -----
                                Street Address
                                                                                                                -------
                                City and County
                                State and Zi p Code
                                Telephone Number
                                E-ma il Address       (if known)




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II.        Basis for Jurisdiction

          Federal courts are courts of lim ited juri sdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases invo lving diversity of citizenship of the
          parties. Under 28 U.S .C. § 133 l, a case arising under the United States Constitution or federal laws or treaties
          is a federal questi on case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of c itizenship case. Jn a
          diversity of citizenship case, no defendant may be a c itize n of the same State as any plaintiff.

          What is the basis fo r federal court jurisdiction? (check all that apply)
                 D     Federal qu estion                            D   Di versity of citizenship


          Fill out the paragraphs in this section that apply to thi s case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federa l treaties, and/or provisions of the United States Constitution that
                     are at issue in thi s case.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         T he Plaintiff(s)

                                a.         If the plai ntiff is an individual
                                           The plaintiff, (name)                                                     , is a c iti zen of the
                                                                                    ----         ---- -     -   --
                                           State of (name)


                                b.         If the pla intiff is a corporati on
                                           The plaint iff, (name)                                                    , is incorporated
                                           under the laws of the State of (nam e)
                                           and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         T he Defendant(s)

                                a.         If the defendant is an individua l
                                           The defendant, (name)                                                     , is a citizen of
                                                                                             -    ---------
                                           the State of (name)                                                   Or is a citizen of
                                           (foreign nation)




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                                  b.         If the defendant is a co rporation
                                             The defendant, (name)                                          , is incorporated under
                                                                                  -----------
                                             the laws of the State of (na me)                                         ,and has its
                                             principal place of business in the State of (nam e)
                                             Or is incorporated under the laws of (forei"n nation)
                                             and has its principal place of business in (nam e)


                                 (If more than one defendant is named in the complaint, attach an additional page providing the
                                 same information for each additional defendant.)

                      3.          The Amount in Controversy

                                  The amount in controversy- the amount the plaintiff claims the defendant owes or the amount at
                                  stake- is more th an $75 ,000, not counting interest and costs of court, because (explain):




III.       Statement of Claim

           Write a short and plai n statement of the claim . Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the injunction or other reli ef sought. State how each defendant
           was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs ri ghts,
           including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
           claim and write a short and plain statem ent of each claim in a separate paragraph . Attach additional pages if
           needed.

           A.




                                                                                                   ------------
           B.         What date and approximate time did th e events giv in g ri se to yo ur claim( s) occur?

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          c.          What are the facts underly ing your c laim(s)? (F
                      Was anyone else involved? Who else saw what happ;ned?~r example: What happened to you? Who did what?

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                       i.;;S"'-eS        fAJ'.   ~.
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IV.       Irreparable Injury

          Exp l ~in
          sustained, are sustaining, or wi ll sustain as a result of thot adequately ~ompensate you for the injuries you
                  why monetary damages at a later time would n
          could not be measured .                                      e events descnbed above, or why such compensation

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                    ~ ~~\a,v-e. _ ~"~ \\~~ ~ ~~~ ~~· 1e(\t,~.
v.        Relief




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VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or di scovery; and (4) the complaint otherwise comp I ies with the
          requirements of Rule I I.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk' s Office with any changes to my address where case- related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:              ~ I:z1     I -:i oi ~
                     Signature of Plaintiff
                                                              ~~~~~-
                     Printed Name of Plaintiff
                                                                  c~,(\''::>"°1"6 ~ ~t,( c. eCJ"'"'.)Q.. -~
                                                                                                          -'---'-=-'
                                                                                                               ~~(;~\.-=-\~~-~-------
          B.         For Attorneys

                     Date of signing:


                      Signature of Attorney
                     Printed Name of Attorney
                                                              -       ---- --- - -          --      - - - --   -------- - -
                     Bar Number
                     Name of Law Firm
                      Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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